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                                                     Wednesday, 20 November, 2019 02:11:06 PM
                                                                   Clerk, U.S. District Court, ILCD

                  IN THE UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                            PEORIA DIVISION

MID CENTRAL OPERATING                        )
ENGINEERS HEALTH AND                         )
WELFARE FUND,                                )
              Plaintiffs,                    )
                                             )
            vs.                              )      CASE NO.: 19-cv-
                                             )
THE RED ANTS BORING COMPANY,                 )
                                             )
                   Defendant.                )

                                 COMPLAINT

      NOW COMES the Plaintiff, Mid Central Operating Engineers Health and

Welfare Fund, by its attorney, David W. Stuckel, and for its complaint against the

Defendant, The Red Ants Boring Company, states as follows:

      1.    This action arises under the laws of the United States and is brought

pursuant to the Employee Retirement Income Security Act of 1974, (“ERISA”) as

amended, 29 USC Section 1132 (e)(1) and (2) and 1145, and Section 301 (a) of the

Labor Management Relations Act (“LMRA”) of 1947 as amended, 29 USC 185 (a), and

28 USC Section 1331.

      2.    Venue is proper in this Division of this District pursuant to Section 502

(e)(2) of ERISA, 29 USC 1132 (e)(2) and 28 USC1391 (a) and (b) because Defendant

performs work within the Peoria Division.

      3.    Defendant is obligated to make contributions to the Plaintiff under the

terms of a certain agreement and declaration of trust establishing and outlining the

administration of the Fund and pursuant to the terms of a collective bargaining

agreement adopting the agreement and declaration of trust entered into by Defendant
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with International Union of Operating Engineers Local 649 which has been

continuously in effect from July 26, 2013, to the present. (Exhibit 1).

      4.    Central Pension Fund of the International Union of Operating Engineers

and Participating Employers is an employee pension benefit plan under ERISA.

Central Pension Fund has entered into an agreement with Mid Central Operating

Engineers Health and Welfare Fund under which Mid Central is authorized to collect

all amounts due to Central Pension Fund for work within the territorial area covered

by Mid Central Operating Engineers Health and Welfare Fund.

      5.         Defendant is obligated to make contributions to Mid Central Operating

Engineers Health and Welfare Fund and Central Pension Fund of the International

Union of Operating Engineers and Participating Employers under the terms of the

agreements and declarations of trust establishing and outlining the administration of

each Fund and, further, pursuant to the terms of a Collective Bargaining Agreement

entered into by Defendant which sets forth the rate of contribution of each of the

foregoing Funds and other Funds for which Mid Central Operating Engineers Health

and Welfare Fund acts as the agent for collection.

      6.     As an employer obligated to make contributions to the Fund in accordance

with its Collective Bargaining Agreement(s). Defendant is specifically required to do

the following:

             a.    To submit to Plaintiff for each month, by the fifteenth (15th)
      day of the month following the month for which the report is made, a
      report stating the names, social security numbers and total hours worked
      in such month by each and every person on whose behalf contributions
      are required to be made by Defendant to Plaintiff, or, if no such persons
      are employed for a given month, to submit a report so stating;

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            b.    To remit with the report payment of contributions based
      upon an hourly rate as stated in the applicable collective bargaining
      agreement signed by Defendant;

            c.     To make all of its payroll books, records, tax and
      unemployment reporting forms, and other applicable records available to
      Plaintiff for the purpose of auditing same to determine whether
      Defendant is making full payment as required under the applicable
      agreements;

             d.     To compensate Plaintiff by way of liquidated damages the
      amount of fifteen percent (15%) of any and all contributions which are not
      timely received by Plaintiff for each moth in which contributions are due,
      as specified fully in paragraph 3a. above, together with interest at the
      rate of 9% per annum from the date said contribution was due until the
      date paid;

              e.   To pay any and all costs incurred by Plaintiff in auditing
      Defendant’s records, should it be determined that Defendant was
      delinquent in the reporting or submission of all contributions required of
      it to be made to Plaintiff;

             f.    To pay Plaintiff’s reasonable attorney’s fees and costs
      necessarily incurred in the prosecution of any action to require
      Defendant to submit records for audit or to recover delinquent
      contributions; and

      7.     Defendant is delinquent and has breached its obligations to the Fund in

the following respects:

             a.    Defendant has failed or refused to submit all of its reports
      to Plaintiff due, to date, and/or has failed to make payments of all
      contributions acknowledged by Defendant therein to be due Plaintiff;

             b.     Defendant had made payment of contributions due Plaintiff
      but such payment was made in an untimely fashion under the terms of
      the collective bargaining agreement. Plaintiff has assessed liquidated
      damages and accrued interest against the Defendant as authorized by the
      trust agreement and ERISA, but Defendant has failed and refused to
      make payment of said liquidated damages and accrued interest;

      8.     Upon careful review of all records maintained by Plaintiff

and after application of any and all partial payments made by Defendant, the total

sum of $11,533.95 is due from Defendant to Plaintiff itemized as follows (Ex. 2):

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             a.     $7,310.20 in unpaid contributions for the period of August 2016

                    and July through August 2019;

             b.     $1,012.58 in liquidated damages on unpaid contributions for the
                    period of August 2016 and July through August 2019;

             c.     $183.63 in interest on unpaid contributions through November
                    20, 2019, at the rate of 9% per annum;

             d.     $2,683.98 in liquidated damages on contributions paid later
                    than the date due; and

             e.     $343.57 in interest on contributions paid later than the date due
                    through November 20, 2019, at the rate of 9%per annum.


WHEREFORE, Plaintiffs pray:

      A.     That judgment be entered in favor of Plaintiff and against Defendant

in the total sum of $11,533.95 ; and

      B.     That Plaintiff be allowed its reasonable attorney’s fees and court

costs necessarily incurred in this action as specified herein, or as subsequently

determined, all as provided for in the Plan and in ERISA; and

      C.     The Plaintiff have such other and further relief as may be deemed

just and equitable by the Court, all at Defendant’s cost.


                                        Respectfully Submitted,

                                        Mid Central Operating Engineers
                                        Health and Welfare Fund, Plaintiff.

                                        BY:   s/ David W. Stuckel
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